Case 14-31229-sgj15
Case 14-31229-sgj15 Doc
                     Doc  185-4
                        182       Filed 10/25/18
                            Filed 10/25/18         Entered
                                             Entered       10/25/18
                                                     10/25/18       11:54:09
                                                              11:06:09   Page 1Desc
                                                                                of 4
                              Exhibit 4 Page 1 of 4



David J. Molton (admitted pro hac vice)
Howard S. Steel (pro hac vice pending)
Gerard T. Cicero (pro hac vice pending)
Brown Rudnick LLP
Seven Times Square
New York, New York 10036
Telephone: (212) 209-4800
Facsimile: (212) 209-4801
Email: dmolton@brownrudnick.com
Email: hsteel@brownrudnick.com
Email: gcicero@brownrudnick.com

- and -

Marcus A. Helt (TX 24052187)
Thomas Scannell (TX 24070559)
Foley & Lardner LLP
2021 McKinney Avenue, Suite 1600
Dallas, Texas 75201
Telephone: (214) 999-4289
Email: mhelt@foley.com
Email: tscannell@foley.com]

Counsel for Nobuaki Kobayashi, In
His Capacities as the Bankruptcy
Trustee and Foreign Representative
and Trustee of the Second Civil
Rehabilitation Proceeding and
Proposed Foreign Representative of
MtGox Co., Ltd., a/k/a/ MtGox KK


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


 In re:                                      Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),           Case No. 14-31229-sgj-15

           Debtor in a Foreign Proceeding.


                           LIST PURSUANT TO
             FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(a)(4)
Case 14-31229-sgj15
Case 14-31229-sgj15 Doc
                     Doc  185-4
                        182       Filed 10/25/18
                            Filed 10/25/18         Entered
                                             Entered       10/25/18
                                                     10/25/18       11:54:09
                                                              11:06:09   Page 2Desc
                                                                                of 4
                              Exhibit 4 Page 2 of 4




       Petitioner Nobuaki Kobayashi, in his capacities as the bankruptcy trustee and foreign

representative of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), and as court-appointed trustee

and duly-authorized foreign representative of the Debtor (the “Petitioner”), as a debtor in a civil

rehabilitation proceeding under Japanese law (the “Second Civil Rehabilitation Proceeding”),

currently pending before the Twentieth Civil Division of the Tokyo District Court, Japan (the

“Tokyo Court”), by and through his undersigned U.S. counsel, hereby submits the following list

in accordance with Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.

Persons or Bodies Authorized to Administer Foreign Proceedings of the Debtor.

       1.       The duly appointed trustee and foreign representative in the Second Civil

Rehabilitation Proceeding is listed below:

Trustee and Foreign
Representative of the Debtor

Nobuaki Kobayashi
Nagashima Ohno & Tsunematsu
JP Tower
2-7-2 Marunouchi, Chiyouda-ku
Tokyo 100-7036, Japan

Parties to Litigation Pending in the United States in Which Debtor is a Party.

       2.       The following proceeding in which the Debtor is a defendant and counter-claimant

is pending in the United States District Court for the Western District of Washington: CoinLab,

Inc. v. MtGox KK, et al., Case No. 13-00777 (MJP) (W.D. Wash. May 2, 2013).

Parties and Counsel:

Coinlab, Inc.

Roger M. Townsend
Breskin Johnson & Townsend PLLC
1111 Third Avenue, Suite 2230
Seattle, WA 98101


                                                2
Case 14-31229-sgj15
Case 14-31229-sgj15 Doc
                     Doc  185-4
                        182       Filed 10/25/18
                            Filed 10/25/18         Entered
                                             Entered       10/25/18
                                                     10/25/18       11:54:09
                                                              11:06:09   Page 3Desc
                                                                                of 4
                              Exhibit 4 Page 3 of 4



Edgar Sargent
Floyd Short
Lindsey Godrey-Eccles
Kristin Malone
Susman Godfrey LLP
1201 3rd Avenue, Suite 3800
Seattle, WA 98101-3087

MtGox Co. Ltd, (named as Mt. Gox KK)

Melanie L. Mayer
Fenwick & West LLP
1191 Second Avenue, 10th Floor
Seattle, WA 98101

Tibanne Co., Ltd, (named as TibanneKK)

Mark Karpales (pro se)
11-5, Shibuya 2-chrome
Shibuya-Ku
Tokyo, Japan



               [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




                                         3
Case 14-31229-sgj15
Case 14-31229-sgj15 Doc
                     Doc  185-4
                        182       Filed 10/25/18
                            Filed 10/25/18         Entered
                                             Entered       10/25/18
                                                     10/25/18       11:54:09
                                                              11:06:09   Page 4Desc
                                                                                of 4
                              Exhibit 4 Page 4 of 4



Dated:   October 25, 2018                    Respectfully submitted,
         Dallas, Texas
                                             FOLEY & LARDNER LLP

                                             /s/ Marcus A. Helt
                                             Marcus A. Helt (TX 24052187)
                                             Thomas Scannell (TX 24070559)
                                             Foley & Lardner LLP
                                             2021 McKinney Avenue, Suite 1600
                                             Dallas, Texas 75201
                                             Telephone: (214) 999-4289
                                             Email: mhelt@foley.com
                                             Email: tscannell@foley.com]

                                             - and –

                                             BROWN RUDNICK LLP
                                             David J. Molton (admitted pro hac vice)
                                             Howard S. Steel (pro hac vice pending)
                                             Gerard T. Cicero (pro hac vice pending)
                                             Seven Times Square
                                             New York, New York 10036
                                             Telephone: (212) 209-4800
                                             Facsimile: (212) 209-4801
                                             Email: dmolton@brownrudnick.com
                                             Email: hsteel@brownrudnick.com
                                             Email: gcicero@brownrudnick.com

                                             Counsel for Nobuaki Kobayashi, In His
                                             Capacities as the Bankruptcy Trustee and
                                             Foreign Representative and Trustee of the
                                             Second Civil Rehabilitation Proceeding and
                                             Proposed Foreign Representative of MtGox
                                             Co., Ltd., a/k/a/ MtGox KK




                                         4
